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                            UNITED STATES DISTRICT COURT
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             CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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       JUANA OLIVOS VALDEZ, an                Case No. CV 19-976-DMG (JCx)
  14   individual; DANILLIE WILLIE, and
       individual; and PATRICIA THEUS,        FINAL ORDER AND JUDGMENT AS
  15   an individual, on behalf of            TO DEFENDANT THE
       themselves and all others similarly    REHABILITATION CENTRE OF
  16   situated, and as aggrieved employees
       under the Labor Code Private           BEVERLY HILLS
  17   Attorneys General Act of 2004,
  18               Plaintiffs,
  19         v.
  20   GENESIS HEALTHCARE LLC, a
       Delaware Corporation; GENESIS
  21   HEALTHCARE, INC., a Delaware
       corporation; GENESIS
  22   ADMINISTRATIVE SERVICES,
       LLC, a Delaware limited liability
  23   company; ALEXANDRIA CARE
       CENTER, LLC, a Delaware limited
  24   liability company; THE
       REHABILITATION CENTRE OF
  25   BEVERLY HILLS, a California
       corporation; and DOES 1 through
  26   100, inclusive,
  27                Defendants.
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   1         Having considered Plaintiff Patricia Theus’s (“Plaintiff”) Motion for Final
   2   Approval of Class Action Settlement [Doc. # 93], which pertains only to Defendant
   3   The Rehabilitation Centre of Beverly Hills (“Defendant”), and Plaintiff’s Motion for
   4   Attorneys’ Fees and Costs and Class Representative Service Award [Doc. # 91],
   5   together with all exhibits thereto, and the statements made by the Parties and their
   6   counsel at the Final Approval Hearing held on November 12, 2021; and
   7         With due and adequate notice having been given to the Class, and for good
   8   cause shown,
   9         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED AS FOLLOWS:
  10         1.     The Court, for purposes of this Final Order and Judgment
  11   (“Judgment”), refers to all defined terms as set forth in the Stipulation of Class
  12   Action Settlement (“Stipulation”) [Doc. # 84-2] filed in this Action.
  13         2.     The Court has jurisdiction over all claims asserted in the Action,
  14   Plaintiff, the Class Members, and Defendant.
  15         3.     The Court finds that the Settlement was made and entered into in good
  16   faith and hereby approves the Settlement as fair, adequate, and reasonable to all
  17   Class Members. Any Class Members who have not timely and validly requested
  18   exclusion from the Class are thus bound by this Judgment.
  19                                        Class Notice
  20         4.     Notice to Class Members, as set forth in the Stipulation, has been
  21   completed in conformity with the terms of the Stipulation and Order Granting
  22   Plaintiff’s Motion for Preliminary Approval of Class Action Settlement [Doc. # 87]
  23   as to all Class Members who could be identified through reasonable effort. The
  24   Court finds that said notice was the best notice practicable under the circumstances.
  25   The Notice Packets provided due and adequate notice to Class Members of the
  26   proceedings and of the matters set forth therein, including the Settlement, and the
  27   manner by which objections to the Settlement could be made and Class Members
  28   could opt out of the Settlement. The Notice Packets fully satisfied the requirements

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   1   of due process.
   2                          Objections and Requests for Exclusion
   3         5.     No objections to the Settlement were submitted by Class Members in
   4   accordance with the requirements set forth in the Stipulation and Notice of Class
   5   Action Settlement.
   6         6.     The Court finds that one Class Member submitted a valid and timely
   7   Request for Exclusion and therefore shall not be bound by the terms of the
   8   Stipulation. That class member is Emelyn Michelle Hernandez.
   9                            Release of Claims and Injunction
  10         7.     Plaintiff and all other Class Members, except the Class Member
  11   identified in Paragraph 6 above, shall have, by operation of this Judgment, fully,
  12   finally, and forever released, relinquished, and discharged the Released Parties from
  13   all Released Claims as defined by the Stipulation.
  14                        Payments Pursuant to the Stipulation
  15         8.     The Court finds that the Maximum Settlement Amount, the Net
  16   Settlement Amount, and the methodology used to calculate and pay each Class
  17   Member’s Individual Settlement Awards are fair and reasonable, and authorizes the
  18   Settlement Administrator to pay the Individual Settlement Payments to the Class
  19   Members in accordance with the terms of the Stipulation.
  20         9.     If an Individual Settlement Payment check remains uncashed after 180
  21   days from issuance, the Settlement Administrator shall pay over the amount
  22   represented by the Individual Settlement Payment check to the State Controller’s
  23   Office Unclaimed Property Fund, with the identity of the Class Member to whom
  24   the funds belong. In such event, the Class Member shall nevertheless remain bound
  25   by the Settlement.
  26         10.    Plaintiff Patricia Theus shall be paid a Class Representative Service
  27   Award in the amount of $10,000 from the Maximum Settlement Amount in
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   1   accordance with the terms of the Stipulation. The Court finds this amount of be fair
   2   and reasonable and sufficiently supported.
   3         11.    Class Counsel shall be paid $187,500 as their attorneys’ fees and
   4   $16,822.74 for reimbursement of costs and expenses from the Maximum Settlement
   5   Amount in accordance with the terms of the Stipulation. The Court finds these
   6   amounts to be fair and reasonable and sufficiently supported.
   7         12.    The California Labor and Workforce Development Agency shall be
   8   paid $16,875.00 as penalties under the Private Attorneys’ General Act.
   9         13.    CPT Group, Inc. shall be paid Settlement Administration Costs in the
  10   amount of $10,000.00.
  11                                     Other Provisions
  12         14.    The Parties shall implement the Settlement according to its terms.
  13         15.    The Court reserves exclusive and continuing jurisdiction over the
  14   Action, Plaintiff Theus, the Class Members, and Defendant for purposes of
  15   supervising the implementation, enforcement, construction, administration and
  16   interpretation of the Settlement and this Judgment.
  17         16.    Notwithstanding the remaining claims against other defendants in this
  18   action, the Court determines under Federal Rule of Civil Procedure 54(b) that there
  19   is no just reason for delay in entering judgment herein and therefore hereby enters
  20   judgment for Plaintiff Theus and the Class Members against Defendant The
  21   Rehabilitation Centre of Beverly Hills in accordance with the terms of the
  22   Stipulation, and this order is a final and appealable order.
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   1         17.    If the Settlement does not become final and effective in accordance with
   2   its terms, this Judgment shall be rendered null and void and shall be vacated and, in
   3   such event, all related orders entered and all releases delivered in connection herewith
   4   also shall be rendered null and void.
   5   IT IS SO ORDERED.
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   7   DATED: November 15, 2021
                                               DOLLY M. GEE
   8                                           UNITED STATES DISTRICT JUDGE
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